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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION

VINCI ENTERPRISES, INC.                     )
          Plaintiff,                        )
                                            )
      v.                                    )   Case No. 2:22-CV-37-GSL-AZ
                                            )
AUTO-OWNERS INSURANCE                       )
COMPANY,                                    )
         Defendant.                         )

                              OPINION AND ORDER

      This matter is before the Court on Defendant Auto-Owners Insurance

Company’s Notice of Attorney’s Fees and Costs [DE 83], filed February 19, 2025, after

this Court granted Auto-Owners’ Motion to Compel. See DE 82. Auto-Owners seeks

fees and costs incurred from briefing the motion to compel along with opposing

Plaintiff Vinci’s motion for leave to file a late response to the motion to compel. Auto-

Owners reported that the fees incurred for the motion to compel and for opposing the

motion for leave were $5,744.60 and $919.40, respectively, for a total of $6,664. DE

83 ¶¶4-5. Vinci objects to the imposition of fees and costs on the grounds that Vinci

was substantially justified in the discovery dispute and that the fees are

unreasonable. For the following reasons, Auto-Owners’ request for fees is granted,

but not at the full amount requested.

                                     Background

      This matter is an insurance coverage dispute between Vinci and Auto Owners

relating to apartments located in Crown Point, Indiana. The discovery motion

underlying the instant motion for fees and costs concerned interrogatories and
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requests for production that Auto-Owners served on Vinci on November 6, 2023. After

Vinci provided responses to those written discovery requests on February 1, 2024,

Auto-Owners promptly sent Vinci a letter dated March 18, 2024, claiming deficiencies

in the responses. Auto-Owners sent a follow-up email to Vinci on April 18, after it did

not receive a response to the March letter. Three days later, Vinci’s counsel responded

indicating that she was working on a response that she would hopefully provide

within a week. More time passed without a response by Vinci, which prompted

another email by Auto-Owners on May 22. By July 11, 2024, Auto-Owners had still

not received a substantive response to the March 18 letter, and therefore filed its

motion to compel on that date. Vinci asked for leave to file a delayed response to the

motion to compel, which was granted over Auto-Owners’ objections.

      As detailed in the February 11, 2025 Opinion and Order, the Court granted

Auto-Owners’ motion to compel with some limitations and caveats, and in recognition

of the fact that Vinci may not possess any further records that would be responsive

to certain of the interrogatories and production requests at issue. The Court invited

submissions on whether an award of fees and costs should be imposed on Vinci. DE

82 at 11. Auto-Owners filed its notice on February 19, 2025 [DE 83], and Vinci filed

its response on March 4, 2025 [DE 86].

                                      Analysis

      Because Auto-Owners’ motion to compel was granted, “the court must, after

giving an opportunity to be heard, require the party or deponent whose conduct

necessitated the motion, the party or attorney advising that conduct, or both to pay




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the movant’s reasonable expenses incurred in making the motion, including

attorney’s fees” unless the “nondisclosure . . . was substantially justified; or . . . other

circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(a)(5)(A).

       “Rule 37(a)(4) is a fee-shifting rule. The winner is entitled to fees unless the

opponent establishes that his position was substantially justified.” Rickels v. City of

S. Bend, Ind., 33 F.3d 785, 787 (7th Cir. 1994) (internal quotations omitted); see also

Pursell v. HydroChem, LLC, 2023 WL 3203104, at *1 (S.D. Ill. May 2, 2023) (“Rule

37(a)(5)(B) presumptively requires the movant to make good the victor’s costs.”)

(citation omitted). Thus, Vinci must reimburse Vinci for its incurred costs, including

attorney’s fees, unless the presumption is overcome through a showing of “substantial

justification” or “other circumstances” that would make an award “unjust.” In making

that determination, the Court possesses broad discretion. United Consumers Club,

Inc. v. Prime Time Mktg. Mgmt. Inc., 271 F.R.D. 487, 499 (N.D. Ind. 2010) (“The court

has broad discretion when reviewing a discovery dispute and ‘should independently

determine the proper course of discovery based upon the arguments of the parties.’”)

(quoting Gile v. United Airlines, Inc., 95 F.3d 492, 496 (7th Cir. 1996)). See also

Gehring v. Case Corp., 43 F.3d 340, 342 (7th Cir. 1994)) (“District judges have

substantial discretion to make such decisions to curtail the expense and intrusiveness

of discovery and trial.”). Lastly, the party requesting fees bears the burden of

explaining the activities it undertook with enough specificity that the court can

determine its reasonableness. United Consumers Club, Inc. v. Prime Time Mktg.

Mgmt. Inc., 2011 WL 1375160, at *3 (N.D. Ind. April 12, 2011).




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      The briefings on the motion to compel, and the fact that most of the discovery

disputes were resolved by Vinci’s response, indicate that the fees incurred by bringing

this issue to the Court were mostly unnecessary and avoidable. For example, with

respect to Auto-Owners’ inquiry regarding pre-closing inspections (Interrogatory No.

2), Vinci initially objected that the interrogatory called for information “beyond [its]

possession and control.” DE 66-3 at 3. This response informed Auto-Owners that an

inspection may have been completed but left it guessing as to the details of any

inspection. In its response to the motion to compel, Vinci claimed it was initially

confused by the wording of the interrogatory and clarified that its bank had an

appraiser inspect the buildings and that Joe Pannarale was the only Vinci

representative that visited the property before the closing. DE 75 at 5-6. Vinci also

pointed to a document it produced that indicated that the bank performed an

appraisal.

      The dispute over Interrogatory No. 2 could have been easily resolved if Vinci

had responded to Auto-Owners’ discovery letters. The same is true for other discovery

disputes, including Auto-Owners’ requests for information and records about prior

insurance policies (Interrogatory No. 21) and prior owners (Request for Production

No. 10), where Vinci claims it does not have any records and the Court ultimately

ordered Vinci to produce any records if they exist after a further review. The Court is

also confident from the briefings on the motion to compel that the dispute over the

scope of the records relating to corporate structure and documents relating to the date

of the property loss (Requests for Production 11 and 31) would likely have been




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worked out through communication between the parties. The only potentially

unresolvable issue in dispute was information and records requested relating to

tenants who may have knowledge of the timing and extent of the property damage

(Interrogatory No. 22 and Request for Production No. 37). I found Vinci’s arguments

regarding these requests to be justified and reasonable, which is why I granted the

requests with substantial caveats and limitations that balanced the competing

equities.

      Vinci contends that some of Auto-Owners’ discovery requests were confusing,

and perhaps it was legitimately unsure about what was being asked in certain

instances. Lawyers sometimes use imprecise language when drafting and responding

to discovery requests and confusion can arise in the myriad of formulaic instructions

and objections exchanged between the parties. It is understandable that lawyers

responding to these requests may be reluctant to respond to requests it deems vague

or confusing in a way that inadvertently misrepresents or binds their clients’

positions. The best way to prevent these types of miscommunications is for both sides

to be clear, forthcoming, and pragmatic in the way they draft written discovery. If

terminology in a request is confusing, it is usually more efficient and cost effective for

the responding party to explain what specific terms it finds confusing and to produce

information and records while preserving objections, instead of making broad and

boilerplate objections and not producing anything at all. See Novelty, Inc. v. Mountain

View Mktg., Inc., 265 F.R.D. 370, 375 (S.D. Ind. 2009) (“‘general objections’ made




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without elaboration, whether placed in a separate section or repeated by rote in

response to each requested category, are not ‘objections’ at all”) (citation omitted).

      In the Court’s view, Vinci’s responses to Auto-Owners’ discovery requests

generally reflected good faith efforts to respond but, in some instances, could have

been clearer and more complete. The Court will give Vinci the benefit of the doubt

that Vinci was not being obstinate in its discovery obligations. But by choosing to

make blanket objections rather than being more specific and pragmatic as described

above, it was incumbent upon Vinci to resolve any confusions or concerns it had

through the meet and confer process. Auto-Owners did its part to resolve any

differences. It sent communications to Vinci in March, April, and May of 2024. Vinci’s

response to the April letter that a response was forthcoming indicates that it intended

to engage in this process, but it failed to do so for reasons unknown. The Court does

not infer any bad motive or gamesmanship in Vinci’s lack of response. But whatever

its reasons, Auto-Owners incurred $5,744.60 in fees that were mostly avoidable and

it is not fair for Auto-Owners to bear that unnecessary cost. See Yessenow v. Hudson,

270 F.R.D. 422, 429-30 (N.D. Ind. 2010) (awarding attorney’s fees where a party’s

failure to engage in the meet and confer process forced the other party to file a motion

to compel, thereby delaying the litigation”). Therefore, the Court will award fees

against Vinci’s counsel, since there is no indication that Vinci itself is responsible for

the failure to meet and confer.

      Vinci argues that the amount of fees requested by Auto-Owners is

unreasonable. Vinci does not dispute the hourly rate used by Auto-Owners, but rather




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the amount of time spent on the motion to compel. Specifically, Vinci claims much of

the work identified in the affidavit by Auto-Owners is duplicative, and that the Court

must scrutinize carefully when determining the hours spent on motion practice. See

Romary Associates, Inc. v. Kibbi, LLC, 2011 WL 4948834, at *5 (N.D. Ind. Oct. 8,

2011) (“When multiple attorneys are simultaneously researching, preparing, and

drafting a single motion, it will inevitably lead to unnecessary duplication, which the

court must take account of in determining the hours reasonably expended.”).

      Auto-Owners incurred $5,744.60 preparing the motion to compel and reply

brief. This figure is the sum of 26.2 associate hours at a rate of $132 per hour and

16.1 partner hours at a rate of $142 per hour. The hourly rates are reasonable. But

because of the generalized way in which the time entries are written (e.g., “Draft

Section of Motion to Compel,” “Prepare Motion to Compel,” and “Draft Section of

Reply to Motion to Compel”), it is hard to tell whether there is duplicative work.

Several time entries by the partner and associate appear very similar, but most of

the entries were in small increments and none appear excessive on their own for the

work reported. See DE 83-2. The 42.3 hours of amount of time expended on the motion

to compel briefs is arguably high, but the written submissions were thorough,

organized, and well-supported and provided the appropriate level of detail to assist

the Court in its determination. Nevertheless, Auto-Owners bears the burden of

providing sufficient detail to support its calculation of fees. See United Consumers

Club, Inc., 2011 WL 1375160, at *3. And due to the generalized nature of the time

entries and the total time spent on the motion to compel and reply brief, I will reduce




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the fee award to account for any possible inefficiencies in the amount time spent by

both a partner and associate on similar tasks.

      The Court will also take into account the fact that Vinci had reasonable and

substantive justifications for several of its objections and substantively responded to

several of the discovery requests at issue, albeit in a somewhat unclear or incomplete

manner. And even though most of the issues in the motion to compel could have been

avoided through the meet and confer process, some issues were likely to be litigated

such as the discovery relating to tenants, where I ruled in Auto-Owner’s favor but

with limitations and caveats, as explained above. Accordingly, I will use my discretion

to further reduce the fee award based on a determination that “other circumstances”

which would make an award of the full costs sought by Auto-Owners “unjust.” See

Fed. R. Civ. P. 37(a)(5)(A)(i)–(iii). Taking into account these considerations, the Court

finds that a 50% reduction in the fees incurred by Auto-Owners is fair, in the amount

of $2,872.30. I will not award fees incurred by Auto-Owners for opposing Vinci’s

motion for leave to file a delayed response because I granted the motion and found

excusable neglect for missing the deadline. See DE 74.

                                     Conclusion

      For the foregoing reasons, the Court GRANTS in part and DENIES in part

Defendant Auto-Owners Insurance Company’s Notice of Attorney’s Fees and Costs

[DE 83] and ORDERS Plaintiff’s Counsel Christina M. Phillips to pay $2,872.30 in

attorney’s fees pursuant to Rule 37(a)(5)(A) of the Federal Rules of Civil Procedure.




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Plaintiff’s Counsel Christina M. Phillips shall pay this amount to Defendant Auto-

Owners Insurance Company by April 25, 2025.

      So ORDERED this 3rd day of April 2025.

                                        /s/ Abizer Zanzi
                                        MAGISTRATE JUDGE ABIZER ZANZI
                                        UNITED STATES DISTRICT COURT




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